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            EXHIBIT F
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From:                                            Krabill, Laura E. (Phila)
Sent:                                            Wednesday, December 7, 2022 11:09 AM
To:                                              George M. Vinci Jr.
Cc:                                              Antonelli, Marisa; Neal R. Troum
Subject:                                         RE:


Ok. Please call my cell number. Thanks, George, and safe travels.

From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Wednesday, December 7, 2022 10:49 AM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>
Cc: Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>
Subject: Re:

⚠ EXTERNAL
My flight lands at 2:45. Going to take me about 30 minutes to get home from airport. I will call you as soon as I
get home. Marisa are you or Michael available?


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                                  George M. Vinci Jr., Shareholder & Director
                                  Spector Gadon Rosen Vinci P.C.
                                  T +1 215-241-8840
                                  F +1 215-531-9128
                                  E gvinci@sgrvlaw.com



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Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
addressed herein.



From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Wednesday, December 7, 2022 10:46:13 AM
To: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Cc: Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>
Subject: RE:

{EXTERNAL EMAIL} This message originated outside of your organization.

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This afternoon is good. Do you want to call me at 3:00 and then we’ll call chambers?

From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Wednesday, December 7, 2022 10:44 AM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>
Cc: Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>
Subject: Re:

⚠ EXTERNAL
If this afternoon does not work I can do tomorrow.

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Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
addressed herein.



From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Wednesday, December 7, 2022, 8:39 AM
To: Krabill, Laura E. <KrabillL@ballardspahr.com>
Cc: Antonelli, Marisa <mantonelli@velaw.com>
Subject: Re:

Traveling this morning. Should be back in Philadelphia by 3.


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Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
addressed herein.



From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Tuesday, December 6, 2022 5:55:16 PM
To: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Subject: RE:

{EXTERNAL EMAIL} This message originated outside of your organization.
Hi, George. I was tied up when I got your email. I know you said you were tied up tomorrow part of the day. I have calls
tomorrow from 10-11 a.m. Should we try his chambers at 9?

From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Tuesday, December 6, 2022 4:20 PM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>
Subject:

⚠ EXTERNAL
Now that we know our judge let's talk about setting up a call.

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                                  F +1 215-531-9128
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Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
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